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                            BEFORE THE UNITED STATES
                   JUDICIAL PANEL ON MULTIDISTRICT LITIGATION


                                               )   MDL No. 3076
IN RE: FTX CRYPTOCURRENCY
                                               )
EXCHANGE COLLAPSE LITIGATION
                                               )

                                  CERTIFICATE OF SERVICE

       In compliance with Rule 4.1(a) of the Rules of Procedure for the United States Judicial Panel

on Multidistrict Litigation, I hereby certify that on April 13, 2023, I caused the foregoing NOTICE OF

APPEARANCE to be electronically filed with the Clerk of Court through the CM/ECF system, which

will send notification of such filing to all counsel of record who are registered as CM/ECF users, as

denoted on the Electronic Mail Notice List, and I hereby certify that I have mailed the foregoing

documents via the United States Postal Service to any non-CM/ECF participants indicated on the

Electronic Mail Notice List.

       I further certify that on April 13, 2023, I caused the foregoing NOTICE OF APPEARANCE to

be served on defendant Thoma Bravo, LP in Rabbitte v. Sequoia Capital Operations, LLC, No. 3:23-

cv-00655-JSC (N.D. Cal.), by emailing a copy to counsel of record as follows:

       Mark E. McKane
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       Counsel for Defendant Thoma Bravo, LP

       I certify under penalty of perjury under the laws of the United States of America that the

foregoing is true and correct.
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                                          Respectfully submitted,

DATED: April 13, 2023                     ROBBINS GELLER RUDMAN
                                           & DOWD LLP

                                                       s/ Stuart A. Davidson
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